Case 5:15-cr-00014-RWS-JBB            Document 25        Filed 08/05/15      Page 1 of 2 PageID #:
                                             59



                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                      TEXARKANA DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
V.                                                  §         CASE NO. 5:15CR14(1)
                                                    §         (Judge Schroeder)
GABRIEL GONZALEZ, JR                                §


              FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                   BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

         On August 5, 2015, this cause came before the undersigned United States Magistrate Judge

for guilty plea and allocution of the Defendant on a lesser included charge of Count 1 of the

Indictment. The lesser included charge of Count 1 charges a violation of 21 U.S.C. § 846. After

conducting said proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Court

finds:

         a.      That the Defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

United States Magistrate Judge subject to a final approval and imposition of sentence by the District

Court.

         b.      That the Defendant and the Government have entered into a plea agreement which

has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2).

         c.      That the Defendant is fully competent and capable of entering an informed plea, that

the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing and voluntary plea supported by an independent basis in fact containing
    Case 5:15-cr-00014-RWS-JBB           Document 25        Filed 08/05/15       Page 2 of 2 PageID #:
                                                60

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    each of the essential elements of the offense.

           d.      Within fourteen (14) days after receipt of the magistrate judge’s report, any party may

    serve and file written objections to the findings and recommendations of the undersigned. All

    parties have waived objections.

           IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

    and the Guilty Plea of the Defendant, and that GABRIEL GONZALEZ, JR. should be finally

    adjudged guilty of the offense listed above.

          SIGNED this 5th day of August, 2015.




                                                         ____________________________________
                                                         CAROLINE M. CRAVEN
                                                         UNITED STATES MAGISTRATE JUDGE




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